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                    Case 1:22-cv-10861-PGG-KHP Document 1-3 Filed 12/23/22 Page 1 of 3

                                         Esports Entertainment Group, Inc.
                                                                                                          EX. C
                               Minutes of the Special Meeting of the Board of Directors
                                                    April 18, 2022
                                                       3:30 PM

     Location of Meeting:
     Remote


     Present at Meeting:

     Board Members

     Grant Johnson;
     Stuart Tilly;
     Damian Mathews;
     Alan Alden;
     Alex Lim;

     Absent from Meeting:

     Mark Neilsen

     Corporate Secretary
     Lydia Roy

     The special meeting of the Board of Directors of Esports Entertainment Group, Inc. was called to order at 3:30 PM on April 18,
     2022 at Remote by Grant Johnson.

                                                         I. Approval of Agenda

     No agenda was distributed as this was a Special Meeting and called in accordance with the Company’s By-Laws.

                                                    II. Review of Previous Minutes

     No previous minutes were reviewed and voted on.

                                                  III. Consideration of Open Issues

        1. New Board Members

           Grant Johnson introduced open issue

           Grant Johnson confirmed that the two candidates nominated to the Board of Directors have been cleared through
           EEG's due diligence process and by each of the candidates’ respective employers and Board moved to approve both
           candidates.

           The candidates:

           1- Jan Jones Blackhurst
           2- Kaitesi Munroe

           Grant Johnson confirmed that the above candidates are anticipated to start at the end of May and that EEG is awaiting
           formal acceptance which is expected any day.

           Decision: Board motioned to unanimously approved both candidates.

        2. Alto Opportunity Master Fund, SPC – Segregated Master Portfolio B


                                                                   1
   EEG Board Minutes | April 18, 2022
DocuSign Envelope ID: 19E73514-9BD1-4820-B600-00A04679FD5A
                    Case 1:22-cv-10861-PGG-KHP Document 1-3 Filed 12/23/22 Page 2 of 3

            Grant Johnson introduced open issue

            Esports Entertainment Group, Inc. (EEG) received a letter from Alto Opportunity Master Fund, SPC – Segregated
            Master Portfolio B ("Alto") through EEG's counsel Joseph Lucosky dated March 28, 2022 ("Alto Letter"). Grant
            Johnson wanted to ensure that all Board Members had an opportunity to review the letter and to unanimously
            vote and agree on the following 3 points:

            - For all board members to acknowledge receipt of the Alto Letter.

            - The retention of Jon Uretsky as counsel to manage and respond to the Alto Letter.

            -To decide as to whether the board of directors wishes to conduct a formal internal investigation on Grant Johnson as
            result of the allegations of fraud made by Alto.


            Decision: The Board acknowledged receipt of the Alto Letter and considered its content. Following which the
            Board motioned to unanimously agreed that no investigation into Grant’s alleged actions from Ayrton lawyer was
            necessary and agreed that Jon Uretsky would be retained as counsel of record to manage and respond to the Alto
            Letter.



            3.       Audit Committee

            Grant Johnson introduced open issue

            Grant Johnson requested that Alan Alden act as an interim member on the Audit Committee to fill the vacancy left by
            Damian Mathews until a new member is selected, as the Audit Committee requires 3 independent members and as result
            Alan Alden would be best placed to fill this role in the interim. Alan Alden accepted to act as interim chair.

            Decision: Board motioned to unanimously approve that Alan Alden act as interim Chair of Audit Committee.

                                                 IV. Agenda and Time of Next Meeting

     The next meeting will be held at 330 PM on May 26, 2022 at:
     Remote

     The agenda for the next meeting is as follows:

     Board to review and accept the following minutes
     from the April 18, 2022 Special Meeting.

     The meeting was adjourned at 4:30 PM by Grant Johnson.

     Minutes submitted by: Lydia Roy

     Minutes approved by: to be approved by Board Members at the next meeting to be held around May 19/20th, 2022..




   Signed: ____________________________

   Printed: Grant Johnson

   Title: ______________________________
           CEO



                                                                    2
   EEG Board Minutes | April 18, 2022
DocuSign Envelope ID: 19E73514-9BD1-4820-B600-00A04679FD5A
                    Case 1:22-cv-10861-PGG-KHP Document 1-3 Filed 12/23/22 Page 3 of 3

   Signed: ____________________________

   Printed: Stuart Tilly

   Title: ______________________________
            Director


   Signed: ____________________________

   Printed: Damian Mathews

   Title: ______________________________
          CFO


   Signed: ____________________________

   Printed: Alex Lim

   Title: ______________________________
           Board Member


   Signed: ____________________________

   Printed: Mark Nielsen

   Title: ______________________________



   Signed: ___________________________

   Printed: Alan Alden

   Title: ______________________________
            Board Member




                                                             3
   EEG Board Minutes | April 18, 2022
